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 4
                                   UNITED STATES DISTRICT COURT
 5
                                NORTHERN DISTRICT OF CALIFORNIA
 6
                                             SAN JOSE DIVISION
 7
                                                        )
 8                                                      ) Case No. 5:17-cv-00220-LHK
                                                        )
 9                                                      ) STIPULATED ORDER RE: DISCOVERY
     FEDERAL TRADE COMMISSION,                          ) OF ELECTRONICALLY STORED
10             Plaintiff,                               ) INFORMATION AND RELATED
                                                        ) DISCOVERY MATTERS
11          vs.                                         )
                                                        )
12                                                      )
     QUALCOMM INCORPORATED, a                           )
13   Delaware corporation,                              )
                   Defendant.                           )
14
15       1. PURPOSE
16           This Order will govern discovery of electronically stored information (“ESI”) in this
17   case as a supplement to the Federal Rules of Civil Procedure, this Court’s Guidelines for the
18   Discovery of Electronically Stored Information, and any other applicable orders and rules.
19
         2. COOPERATION
20
             The parties are aware of the importance the Court places on cooperation and commit to
21
     cooperate in good faith throughout the matter consistent with this Court’s Guidelines for the
22
     Discovery of ESI.
23
24       3. LIAISON
25           The parties have identified liaisons to each other who are and will be knowledgeable

26   about and responsible for discussing their respective ESI. Each e-discovery liaison will be, or

27   have access to those who are, knowledgeable about the technical aspects of e-discovery,

28   including the location, nature, accessibility, format, collection, search methodologies, and
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     production of ESI in this matter. The parties will rely on the liaisons, as needed, to confer
 2
     about ESI and to help resolve disputes without court intervention.
 3
 4       4. PRESERVATION

 5           The parties have discussed their preservation obligations and needs and agree to take
     steps to preserve potentially relevant ESI that are reasonable and proportionate. The parties
 6
     furthermore agree to meet and confer to the extent either party seeks further limitations on the
 7
     scope of its preservation duties.
 8
 9       5. SEARCH
10           The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, or earlier if
11   appropriate, they will meet and confer about methods and protocols, including the use of
12   search terms and/or other automated search and review technology, to search ESI in order to
13   identify ESI that is subject to production in discovery and filter out ESI that is not subject to
14   discovery.
15
         6. PRODUCTION FORMATS
16
             The parties agree as follows:
17
18           a. The form or forms in which ESI should be produced.
19
                  i. Format for production of documents – documents existing in electronic format.
20
                     The parties agree that all documents existing in electronic format shall be
21
                     produced in single page, Group IV tagged image file format (“TIFF”), or
22
                     equivalent, at a resolution of at least 300 dpi in accordance with the following:
23
24                   1. Image files shall be produced along with Concordance/Opticon image load

25                      files linking the images to the corresponding document that indicate the

26                      beginning and ending of each document. Each image file shall be named

27                      according to a unique corresponding Bates number associated with the

28                      document. Each image file shall be branded according to the Bates number

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                        and the agreed-upon confidentiality designation. Image files shall show all
 2
                        text and images that would be visible in the original electronic format (native
 3
                        format), including redlines and speaker notes.
 4
 5                  2. Notwithstanding the foregoing, all documents that the producing party
                        received from Third Parties or reproduces in whole or in part from the
 6
                        production files of a historical litigation should be produced in the same
 7
                        manner and form, including native files and all metadata, as the producing
 8
                        party received from the producing Third Party or originally produced in the
 9
                        relevant historical litigation.
10
11                  3. Extracted text, to the extent it exists, should be provided in document-level
12                      text files.
13
                ii. Format for production of documents – hardcopy or paper documents. All
14
                    documents that are hardcopy or paper files shall be scanned and produced in the
15
                    same manner as documents existing in electronic format in accordance with the
16
                    following:
17
18                  1. In scanning hardcopy documents, distinct documents should not be merged
19                      into a single record, and single documents should not be split into multiple

20                      records (i.e., hardcopy documents should be logically unitized). The parties

21                      will use reasonable efforts to unitize documents correctly.

22
               iii. Production media and encryption of productions. Unless otherwise agreed, the
23
                    parties shall provide document productions in the following manner: The
24
                    producing party shall provide the production data on CDs, DVDs, external hard
25
                    drives, or via FTP as appropriate. If the producing party so desires, it can
26
                    encrypt the production data using an industry acceptable encryption method. In
27
                    such a case, the producing party shall forward the password to decrypt the
28
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 1
                    production data separately from the CD, DVD, or external drive on which the
 2
                    production data is saved.
 3
 4             iv. Deduplication. Data may be deduplicated on a global level. Names of

 5                  custodians of copies of files eliminated due to global deduplication shall be
                    provided in the Alternative Custodian field accompanying the original file.
 6
 7              v. Parent and child emails. The parties shall produce email attachments
 8                  sequentially after the parent email. With respect to an email chain, the parties
 9                  are permitted to produce the longest unique chain and the parties do not need to
10                  separately produce the lesser-included emails unless those lesser-included emails
11                  include unique attachments not included in the longest chain. If a lesser-
12                  included email includes a unique attachment, then the lesser-included email must
13                  be separately produced with the attachment.
14
               vi. Native files. The parties agree to produce Microsoft Excel or other spreadsheet
15
                    files, and Microsoft PowerPoint files in native format, and agree to respond to
16
                    additional reasonable and specific requests for the production of files or file
17
                    types in native format where appropriate. If a dispute arises with regard to
18
                    requests for the production of files or file types in native format, the parties will
19
                    meet and confer in good faith to try to resolve it. If the parties are unable to
20
                    reach agreement with regard to requests for additional documents in native-file
21
                    format, the parties reserve the right to seek relief from the Court.
22
                    Notwithstanding the foregoing, a party may produce a document in a non-native
23
                    format where production in native format would result in the production of
24
                    privileged or otherwise non-discoverable information. The parties will meet and
25
                    confer regarding reasonable requests for production of documents described in
26
                    the foregoing sentence in a native or other appropriate format.
27
28
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 1
              vii. Color documents. The parties agree that color documents should be produced as
 2
                    color images (JPEGs) or in native format.
 3
 4           viii. Images with Poor Legibility. If a document is originally produced in an illegible

 5                  or difficult to read form, the producing party shall have the option of responding
                    by producing a native-file version of the document or producing a replacement
 6
                    image of legible quality. If a dispute arises with regard to requests for legible
 7
                    images, the parties will meet and confer in good faith to try to resolve it.
 8
 9             ix. Culling and Filtering. Each party will use reasonable efforts to filter out
10                  common system files and application executable files by using a commercially
11                  reasonable hash identification process. Hash values that may be filtered out
12                  during this process are located in the National Software Reference Library
13                  (“NSRL”) NIST hash set list. Additional culling of system file types based on
14                  file extension may include, but are not limited to: WINNT, LOGS, DRVS, C++
15                  Program File (c), C++ Builder 6 (cpp), MP3, MP4, WAV, M4a, Channel
16                  Definition Format (cdf), Creatures Object Sources (cos), Dictionary file (dic),
17                  Executable (exe), Hypertext Cascading Style Sheet (css), JavaScript Source

18                  Code (js), Label Pro Data File (IPD), Office Data File (NICK), Office Profile

19                  Settings (ops), Outlook Rules Wizard File (rwz), Scrap Object, System File (dll),

20                  temporary files (tmp), Windows Error Dump (dmp), Windows Media Player

21                  Skin Package (wmz), Windows NT/2000 Event View Log file (evt), Python

22                  Script files (.py, .pyc, .pud, .pyw), Program Installers. The parties agree to meet

23                  and confer regarding which file types may be appropriate to cull or filter in an

24                  effort to preserve files relevant to this litigation.

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 1
             b. Metadata
 2
             The parties agree that load files should include, where applicable, the information listed
 3
     in the Table of Metadata Fields, set forth below. However, the parties are not obligated to
 4   include metadata for any document that does not contain such metadata in the original.
 5                                        Table of Metadata Fields
 6
      Field Name            Specifications     Field Type    Description          Description (E-
 7                          Field Name                       (Email)              Files/Attachments)
 8    Bates Begin           Bates number       Text          The Bates            The Bates number
 9                                                           number               associated with the
                                                             associated with      first page of a
10                                                           the first page of    document
                                                             an email
11    Bates End             Bates number       Text          The Bates            The Bates number
12                                                           number               associated with the
                                                             associated with      last page of a
13                                                           the last page of     document
                                                             an email
14    Confidential                             Text          The                  The confidentiality
      Designation                                            confidentiality      designation
15
                                                             designation          endorsed on the
16                                                           endorsed on the      document. If no
                                                             document. If no      designation is
17                                                           designation is       present, a default
                                                             present, a default   value of “None”
18                                                           value of “None”      will be coded.
19                                                           will be coded.
      Email Date                               Date          The date the         For email
20    Received                                 (MM/DD/YY     email was            attachments, the
                                               YY format)    received             date the parent
21                                                                                email was received
22    Email Date Sent                          Date          The date the         For email
                                               (MM/DD/YY     email was sent       attachments, the
23                                             YY format)                         date the parent
                                                                                  email was sent
24    Email Time                               Time          The time the         For email
25    Received                                 (HH:MM:SS     email was            attachments, the
                                               AM/PM)        received             time the parent
26                                                                                email was received

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28
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 1    Field Name            Specifications     Field Type      Description          Description (E-
                            Field Name                         (Email)              Files/Attachments)
 2
 3    Email Time Sent                          Time            The time the         For email
                                               (HH:MM:SS       email was sent       attachments, the
 4                                             AM/PM)                               time the parent
                                                                                    email was sent
 5    Email From            Sender             Text            The display          N/A
 6                                                             name of the
                                                               sender of an
 7                                                             email
      Email To              Recipient          Text            The display          N/A
 8                                                             name of the
                                                               recipient(s) of an
 9
                                                               email
10    Email CC              CC                 Text            The display          N/A
                                                               name of the
11                                                             copyee(s) of an
                                                               email
12
      Email BCC             BCC                Text            The display          N/A
13                                                             name of the
                                                               blind copyee(s)
14                                                             of an email.
      Email Subject         Subject (e-        Paragraph       The subject line     N/A
15
                            mail)                              of an email
16    Custodian             Custodian          Paragraph       The custodian of     The custodian of a
                                                               an email             document.
17    Alternate             Alternate          Paragraph       Custodians that      Custodians that
      Custodian             Custodian                          possess the same     possess the same
18                                                             email in their       document in their
19                                                             files.               files.
      Date Created                             Date            N/A                  Date the file was
20                                             (MM/DD/YY                            created
                                               YY format)
21    Date Modified                            Date            N/A                  Date the file was
22                                             (MM/DD/YY                            last modified
                                               YY format)
23    Time Created                             Time            N/A                  Time the file was
                                               (HH:MM:SS                            created
24                                             AM/PM)
25    Time Modified                            Time            N/A                  Time the file was
                                               (HH:MM:SS                            last modified
26                                             AM/PM)
      File Name                                Paragraph       N/A                  Original file name
27
28
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 1    Field Name               Specifications   Field Type     Description           Description (E-
                               Field Name                      (Email)               Files/Attachments)
 2
 3    HASH                     Unique ID                       A calculated          A calculated value
                                                               value unique to       unique to each
 4                                                             each identical        identical file-the file
                                                               file - the file       “fingerprint”
 5                                                             “fingerprint”
 6    Parent ID                Parent           Text           The Bates             The Bates number
                               Documents                       number                associated with the
 7                             BatesBegin                      associated with       first page of the
                                                               the first page of     Parent document
 8                                                             the Parent email
      Text Link                                                Full path to the      Full path to the
 9
                                                               supplied text (to     supplied text (to be
10                                                             be left blank         left blank when no
                                                               when no text file     text file is supplied)
11                                                             is supplied).
      Native Link                                              Full path to the      Full path to the
12
                                                               supplied native       supplied native (to
13                                                             (to be left blank     be left blank when
                                                               when no Native        no Native Format
14                                                             Format file is        file is supplied)
                                                               supplied)
15
             c. If particular documents warrant a different format from that described in
16
                  subparts a-b above, then the parties will cooperate to arrange for the mutually
17
                  acceptable production of such documents. The parties agree not to degrade the
18
                  searchability of documents as part of the document production process.
19
20       7. DOCUMENTS PROTECTED FROM DISCOVERY

21           a. The inadvertent production of privileged or otherwise protected ESI shall be

22                governed by Section 12 of the Protective Order Governing Confidential Material

23                [Dkt. 81].

24           b. The following types of information relating to this matter shall not be the subject of

25                discovery and need not be placed on a privilege log: email, notes, drafts,

26                communications, memoranda, or other work product produced by or exchanged

27                solely among and between

28
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 1
                     (i) FTC Counsel1 responsible for this litigation (the “Action”) or the FTC’s pre-
 2
             Complaint investigation (FTC File No. 141-0199) (the “Investigation”).
 3
                     (ii) FTC Counsel responsible for the Action or the Investigation, on the one
 4
             hand, and any FTC employee(s), on the other hand, provided such information relates
 5
             to the Action or Investigation and was created, sent, or received after the Commission
 6
             vote authorizing the filing of the Complaint [Dkt. 1] (the “Vote”);
 7                   (iii) any FTC employees, provided such information relates to the Action or the
 8           Investigation and was created, sent, or received prior to the Vote;
 9                   (iv) Qualcomm’s outside Counsel;
10                   (v) Qualcomm’s outside Counsel responsible for the Action, the Investigation,
11           or the related actions listed in Exhibit B to the Joint Case Management and Federal
12           Rule of Civil Procedure 26(f) Conference Statement [Dkt. 71], subsequently filed
13           related litigations, or any investigations of Qualcomm conducted by foreign
14           competition agencies (collectively, the “Related Matters”), on the one hand, and
15           employees of Qualcomm, on the other hand, provided such information directly relates
16           to the representation of Qualcomm in any such action or investigation; and
17                   (vi) In-house Counsel in Qualcomm’s Corporate Legal Department that are
18           responsible for the representation of Qualcomm in the Action, the Investigation, or the
19           Related Matters, provided such information directly relates to the representation of
20           Qualcomm in any such action or investigation.
21                   (vii) In-house Counsel in Qualcomm’s Corporate Legal Department that are
22           responsible for the representation of Qualcomm in the Action, the Investigation, or the
23           Related Matters, on the one hand, and Qualcomm employees, on the other hand,
24           provided such information directly relates to the representation of Qualcomm in any
25           such action or investigation.
26
     1
27    “Counsel,” whether used to describe FTC attorneys or Qualcomm’s outside and in-house
     attorneys, includes such attorneys’ administrative and paralegal staff.
28
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             c. A document family (email and attachments) may be logged as a single entry so long
 2
                 as the Description of that entry includes a reference to the privileged attachments.
 3
             d. The parties agree to further meet and confer regarding the format, content, and
 4               timing of production of privilege logs.
 5       8. PROPOSED MODIFICATIONS OR LIMITATIONS TO THE DISCOVERY
 6           RULES
 7           a. Previously Produced Qualcomm Documents. The parties agree that all documents
 8               and associated privilege logs previously produced by Qualcomm to the FTC in the
 9               course of the FTC’s investigation of Qualcomm, FTC File No. 141-0199, shall be
10               deemed to have been produced in this action upon entry of the Protective Order in this
11               action.
12           b. Document Subpoenas to Non-Parties. The parties agree as follows with respect to
13               non-parties producing materials in response to Fed. R. Civ. P. 45 document
14               subpoenas in this action. The issuing party shall request that non-parties
15               simultaneously produce materials to both Plaintiff and Defendant. If,

16               notwithstanding such request, the non-party does not produce the materials to both

17               sides, the issuing party shall provide a copy of all materials to the other side within

18               five (5) calendar days after receipt of the materials from the non-party. Any party

19               that does not have access to substantially all materials that have been provided by a

20               non-party for at least thirty (30) calendar days before any deposition of that non-

21               party may elect to have the deposition postponed until the party has had access to

22               the materials for at least thirty (30) calendar days. If a party modifies or extends the

23               time to respond to a Fed. R. Civ. P. 45 document subpoena in writing, it shall

24               simultaneously provide that written extension, modification, or explanation to the
                 other party.
25
             c. Authenticity Presumptions. Documents produced by non-parties from the non-
26
                 parties’ files shall be presumed to be authentic within the meaning of Fed. R.
27
                 Evid. 901. Documents produced by Qualcomm either in response to document
28
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                 requests in this action or in the course of the FTC’s pre-Complaint investigation,
 2
                 FTC File No. 141-0199, shall be presumed to be authentic within the meaning of
 3
                 Fed. R. Evid. 901. If a party serves a specific good-faith written objection to the
 4               authenticity of a document that it did not produce from its files, the presumption of
 5               authenticity will no longer apply to that document. Any objection to a document’s
 6               authenticity must be provided with (or prior to) the exchange of objections to trial
 7               exhibits. The parties will promptly meet and confer to attempt to resolve any
 8               objection. The Court will resolve any objections that are not resolved through this
 9               means or through the discovery process.
10           d. Expert Discovery. The parties agree that expert disclosures, including each side’s
11               expert reports, shall comply with the requirements of Federal Rule of Civil
12               Procedure 26(a)(2), except as modified herein. Neither side must preserve, disclose
13               (including in expert deposition testimony), or place on a privilege log the following
14               documents or materials: (i) any form of communication or work product shared
15               between any of the parties’ in-house or outside litigation counsel and such party’s

16               expert(s) or consultant(s), or between any of such party’s experts or consultants

17               themselves; (ii) any form of communication or work product shared between an

18               expert and persons assisting the expert; (iii) expert’s notes, unless they are

19               expressly relied upon and/or cited in support of an opinion or fact; or (iv) drafts of

20               expert reports, analyses, or other work product. The parties shall disclose the

21               following materials in connection with all expert reports: (a) a list by Bates number

22               of all documents relied upon by the testifying expert(s); (b) copies of any materials

23               relied upon by the expert not previously produced; and (c) for any calculations

24               appearing in the report, all data and programs underlying the calculation, including
                 all programs and codes necessary to recreate the calculation from the initial (“raw”)
25
                 data files.
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27
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 1
         9. MODIFICATION
 2
             This Stipulated Order may be modified by a Stipulated Order of the parties or by the
 3
     Court for good cause shown.
 4
 5           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 6
     DATED: June 30, 2017               /s/ Jennifer Milici
 7
                                             Attorney for Plaintiff Federal Trade Commission
 8
     DATED: June 30, 2017              /s/ Gary A. Bornstein
 9
                                              Attorney for Defendant Qualcomm Incorporated
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 1   PURSUANT TO STIPULATION, IT IS SO ORDERED.
 2
     DATED:
 3                                                       Honorable Nathanael Counsin
                                                        United States Magistrate Judge
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